Case 2:03-cr-20053-.]DB Document 64 Filed 08/25/05 Page 1 of 2 Page|D 6

PJ.EJ BY___ -_.__,.._D.G
IN THE UNITED STATES DISTRICT COURT

FOR THE wESTERN DISTRICT OF TENNESSEE , ~
wESTERN DIVISION OSAUGZ AH‘|'S“

 

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UNITED STATES OF AMERICA, * GEA§§§%§WR§%SUH
Plaim;iff, * W/DOF WWI,MEMPWS
v. * cr. No. 03-20053 B
PEDRO RODRIGUEz-PADILLA, *
Defendant. *
ORDER

 

IT IS HEREBY ORDERED THAT:

CONSIDERING THE Motion to Continue field by the Defendant, the

Continuance §§ IS IS NOT granted and the new Sentencing
hearing will be held on the gj°Lday cfrénp;gxgzgsw 2005 at/:§¢J
a;HT/p.m.

/‘I\
THUS ORDERED THIS 10 day of , 2005.

 

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ITED STATES JUDGE

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J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

